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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                     )
CITY OF ALMATY, KAZAKHSTAN,          )
and BTA BANK                         )
                                     )
            Plaintiffs,              )
                                     )
            v.                       )       No. 15-cv-05345 (AJN) (KHP)
                                     )
MUKHTAR ABLYAZOV, ILYAS              )
KHRAPUNOV, VIKTOR KHRAPUNOV )
and TRIADOU SPV S.A.,                )
                                     )
            Defendants.              )
                                     )


 THE CITY OF ALMATY, KAZAKHSTAN AND BTA BANK’S MEMORANDUM OF
     LAW IN SUPPORT OF THEIR MOTION TO STRIKE ILYAS & VIKTOR
 KHRAPUNOV’S OPPOSITION TO THE MOTION FOR SANCTIONS [ECF No. 502]




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        The City of Almaty and BTA Bank (together, the “Kazakh Entities”) respectfully submit

this memorandum of law in support of their motion to strike Viktor & Ilyas Khrapunov’s

opposition to the Kazakh Entities’ motion for sanctions (“the Opposition”), [ECF No. 502], or at

a minimum, to strike the New Evidence (as that term is defined below) submitted by the

Khrapunovs as part of their Opposition.

                                  PRELIMINARY STATEMENT

        In late November, the Court held an evidentiary hearing to determine whether Ilyas

Khrapunov should be sanctioned for violating the confidentiality order in this case, after it turned

out that he was the only person other than counsel and court reporters who had access to a

confidential deposition transcript that was leaked on-line. At that hearing, the Court was careful

to ensure that the parties made a clear evidentiary record, and at several points counsel for the

Khrapunovs confirmed that they had no further evidence to offer. The Court then entered a

written order, requiring the parties to file electronically all evidence introduced during the

hearing, precisely so the record would be clear.

        But a full month after the hearing, and after they had the benefit of seeing the Kazakh

Entities’ post-hearing briefing setting out their arguments for sanctions against Ilyas Khrapunov,

the Khrapunovs filed an Opposition replete with New Evidence that was never referenced, let

alone moved into evidence, at the evidentiary hearing. The New Evidence includes deposition

excerpts, news articles, and even the testimony of a brand new expert witness – without so much

as a word of explanation as to why the evidence was not presented previously, or why it should

be permitted now.

        It should not be permitted. The New Evidence was introduced too late; it could have been

introduced earlier; it is deeply prejudicial; it is unreliable; it is inadmissible on its face; and it



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violates the Court’s order. It would be profoundly unjust to allow the Khrapunovs to rely on the

New Evidence when the Kazakh Entities have no ability to confront it, and the Khrapunovs’

attempt to inject the New Evidence at this point violates every rule of courtroom practice. The

New Evidence, and the Opposition that is based almost entirely upon it, should be striken.

                                 RELEVANT BACKGROUND

A.     The Leak of Confidential Information

       On October 26, 2017, Viktor and Ilyas Khrapunov (“the Khrapunovs”) moved the Court

to lift the confidentiality designation on portions of the deposition of Kenges Rakishev, the

Chairman of BTA Bank’s board of directors, so that it could be used in proceedings in the United

Kingdom. [ECF No. 452]. In that motion, the Khrapunovs revealed that the entire confidential

transcript of Mr. Rakishev’s deposition (“the Transcript”) had been leaked, and was available on

a file-sharing website, accompanied by a Russian-language blog post (the “Article”). Id. at 2.

       In response to the leak, counsel for the Kazakh Entities immediately undertook an

internal investigation. Counsel identified each person who had received the Transcript, how it

had been handled, and most importantly of all, confirmed that the Transcript had never been sent

or shared with the Kazakh Entities themselves – notwithstanding the Article’s claim that it had

come from someone at BTA Bank. [ECF No. 472 – 481]. This investigation revealed that only

one party – indeed, only one person, aside from the court reporters and law firms involved – had

ever received the Transcript: Ilyas Khrapunov.

B.     The Sanctions Motion

       Having determined that the only plausible source of the leak was Ilyas Khrapunov, the

Kazakh Entities sought an evidentiary hearing and sanctions against him. [ECF No. 453]. The

sanctions motion explained how the Khrapunovs had threatened to use Mr. Rakishev’s



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deposition to attack and harass him, id. at 1, noted that the Court had granted a specific

protective order in response to these threats, id., and identified unquestionable similarities

between Facebook posts made by the Khrapunovs and the Article announcing the leak of the

Transcript. Id. at 2-3. In addition, the Kazakh Entities established that the Article had been

posted just hours before the Khrapunovs made their motion to lift the confidentiality designation

on portions of the Transcript. Id. at 3.

        The Court granted the Kazakh Entities’ request and scheduled an evidentiary hearing for

November 17, 2017, also setting dates for the parties to make applications to present witnesses

by telephone or video. [ECF No. 458].1 In advance of that hearing, counsel for the Kazakh

Entities provided all parties with witness and exhibit lists, and suggested that any other party that

intended to introduce evidence in its case-in-chief do so as well, consistent with the practice in

this District. See Ex. A (November 15, 2017 e-mail from M. Schwartz, stating “we all need to

finalize witness lists, so that all parties can prepare accordingly and there are no undue surprises

or logistical hiccups. I suggest we exchange final witness lists by noon tomorrow”); Ex. B

(Kazakh Entities’ pre-hearing witness and exhibit lists, served on November 16, 2017). In

addition, the Kazakh Entities provided a proposed stipulation as to the testimony of certain

witnesses, and affidavits from all of the others representing the substance of their direct

testimony. The only witnesses whose testimony was not contained in either the stipulation or an

affidavit shared by the Kazakh Entities in advance of the hearing were Mukhtar Ablyazov,

counsel for the Khrapunovs, and the Khrapunovs themselves. Notwithstanding the Kazakh



1
        As the Court is aware, the Khrapunovs applied for permission to appear by telephone,
which the Court granted. [ECF Nos. 459, 461]. Six days after that application was made, and
only three days before the hearing, the Khrapunovs reversed course, and their counsel informed
the Court that neither of the Khrapunovs would in fact appear, citing Swiss law. [ECF No. 463].


                                                  3
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Entities’ requests (and custom in this District), counsel for the Khrapunovs did not disclose any

witness or exhibit lists in advance of the hearing.

C.     The Evidentiary Hearing

       The evidentiary hearing went forward as scheduled. At the hearing, the Kazakh Entities

presented the parties’ stipulation and the other testimonial affidavits – which collectively

established that the Transcript was never shared outside of their own firms by counsel for the

Kazakh Entities or counsel for Triadou, and that the court reporting service shared it only with

the lawyers in this case – and supporting documentary exhibits, which the Court received into

evidence without objection. See 11/17/17 Hr’g Tr. at 12:13-17; ECF Nos. 472–481.2 The

Khrapunovs declined to cross-examine any of those witnesses. The Kazakh Entities also called

Ablyazov (telephonically, from France), and three lawyers for the Khrapunovs. Again, the

Khrapunovs declined to conduct any cross-examination, except for a handful of clarifying

questions to one of their own lawyers.

       Taken together, counsel for the Khrapunovs testified that Ilyas Khrapunov was aware that

the Transcript had been designated confidential, 11/17/17 Hr’g Tr. at 43:23-24, that the only

person outside of their firm that counsel forwarded the Transcript to was Ilyas Khrapunov, id. at

44:15-25, 66:22-25, and that it was Ilyas Khrapunov who informed them that the Transcript had

been leaked. Id. at 63:10-18. Counsel for the Khrapunovs also admitted that they had conducted

no substantive investigation into how the Transcript had been leaked, nor had they collected or

reviewed the e-mail account they had sent it to—whether as evidence that the Transcript had




2
       This evidence was introduced solely for purposes of the Kazakh Entities’ sanctions
motion; Triadou and the Khrapunovs reserved their rights to object to its use for any other
purpose. See 11/17/17 Hr’g Tr. at 33:1-12.


                                                  4
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been leaked from that account or for document production in this action.3 Id. at 48:13-21, 64:24-

65:24, 67:15-20.

       At the conclusion of the Kazakh Entities’ case, they rested “subject of course to the

availability of Viktor and Ilyas Khrapunov.” Id. at 68:2-4. The Khrapunovs then declared that

they “will have no witnesses,” id. at 68:12, but introduced a handful of documents.

       Throughout, both counsel for the Kazakh Entities and the Court were careful to make a

clear record of what evidence was properly before it on the sanctions motion. For example, when

counsel for the Khrapunovs stated “that’s all we have,” after going through some documentary

exhibits, the Kazakh Entities clarified, “[w]ere you not intending to introduce the declarations of

Ilyas and Viktor Khrapunov?” Counsel for the Khrapunovs replied “The Court has those,” (they

had been filed on ECF earlier), and counsel for the Kazakh Entities stated “I want to be clear in a

sanctions proceeding about what the record is on this motion, on this hearing.” Id. at 72:1-9.

Counsel for the Khrapunovs agreed, id. at 72:10, and the Court confirmed “[A]re there any other

exhibits that the Khrapunovs would wish to enter at this time?” Id. at 72:19-20. The Khrapunovs

then clarified that they wanted certain news articles that had been attached to an earlier letter to

the Court to be considered. Id. at 72:21-73:10. In total, the Khrapunovs admitted eleven exhibits,

labeled Khrapunov Exhibits A through K.

       The Court then directed the parties to file all of the stipulations, affidavits, and

documentary exhibits on ECF, and to e-mail unredacted copies to chambers, “so it’s crystal clear

what the record is here.” 11/17/17 Hr’g Tr. at 73:14-19 (comments of counsel for the Kazakh

Entities, to which the Court responded “Yes. I would like you to do that.”). At that point, the

Khrapunovs confirmed again that “we have nothing more.” Id. at 74:7.

3
      Counsel for the Khrapunovs conceded that they actually had not reviewed any of Ilyas
Khrapunov’s email accounts for documents to be produced here. 11/17/17 Hr’g Tr. at 66:14-17.
                                                  5
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        Thus, at the close of the hearing, all of the evidence on the Kazakh Entities’ motion had

been introduced and the record was closed, with the sole exception of the Kazakh Entities’

possible cross-examination of the Khrapunovs themselves – as the Khrapunovs’ direct testimony

having been introduced by affidavit. [ECF Nos. 487-05, -06].4 After the hearing, the Court

formalized its order directing that all exhibits be filed electronically for clarity of the record, and

set a schedule for post-hearing briefing. [ECF No. 470].

D.      The Khrapunovs’ Opposition, and the New Evidence

        The Kazakh Entities filed their post-hearing brief on December 4, 2017, and late on

Friday evening, December 18, 2017, the Khrapunovs filed their Opposition. Attached to and

cited throughout the Khrapunovs’ Opposition was a host of evidence that had not been moved

into evidence at the hearing or filed in accordance with the Court’s November 21 Order

(collectively, the “New Evidence”). The New Evidence consists of both exhibits attached to the

Khrapunovs’ Opposition (confusingly identified as Exhibits A through E, when the Court had

previously accepted different evidence with those designations), as well as news articles cited

throughout the text of the Opposition but not otherwise attached. See, e.g., Opposition, at 3 n.2; 4

& nn. 3 and 6; 5 nn. 7-8 (quoting articles from Reuters and The Electronic Frontier Foundation

for the truth of the matters asserted).

        Among the New Evidence was the testimony of an entirely new expert witness: an

information technology consultant purportedly retained by counsel for the Khrapunovs to “cull,



4
        See also 11/17/17 Hr’g Tr. at 75:22-76:3 (“I understand that there is an open question of
Viktor and Ilyas’ testimony, although I submit to you that to find that Mr. Khrapunov violated
the protective order, you don’t need to hear anything further from him. He has put forward his
affirmative testimony here. He had the opportunity to testify, and he’s taken advantage of that
opportunity to present his direct testimony.”). Counsel for the Khrapunovs likewise confirmed
that they were prepared to make closing arguments that day, but asked the Court’s permission to
do so at a later date, citing a scheduling conflict. Id. at 76:14-15.
                                                   6
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collect, ingest and analyze electronically stored information for multiple email accounts and

electronic devices belonging to Ilyas Khrapunov,” including the email account to which counsel

for the Khrapunovs had forwarded the Transcript. [ECF No. 502-01]. The New Evidence also

included numerous reports and articles predating the hearing but not entered into the record at

that time,5 as well as deposition testimony from other witnesses in this action who were not

identified on any witness list, and who were not examined or cross-examined at the hearing. The

Khrapunovs’ opposition relies heavily on the New Evidence to offer an entirely new and fanciful

narrative, arguing – with virtually no admissible evidence – that Ilyas Khrapunov was framed by

BTA Bank for the leak through computer hacking and corporate espionage.

                                          ARGUMENT

       The New Evidence, and the Opposition relying on it, must be stricken: it was not

introduced into evidence at the hearing; the Kazakh Entities were given no notice or opportunity

to address it or cross-examine the new witnesses; and most of the New Evidence is not properly

admissible in the first place. Furthermore, because the Opposition is so infected by the New

Evidence, it should be stricken in its entirety. The Khrapunovs chose to present no defense at the

evidentiary hearing, and that is the record they should be forced to rely on.

       The Opposition is contaminated top-to-bottom with New Evidence offered after the

record closed and never moved into evidence, in spite of the Court’s November 21 Order to do



5
        Collectively, the New Evidence consists of Exhibits A, B, D & E to the Opposition [ECF
Nos. 502-01, -02, -04, -05], as well as the sources cited at footnotes 1, 2, 4, 5 & 6 of the
Opposition. (Footnote 1 appears to be an unfinished sentence, but its substance does not
discernably refer to any evidence in the record). The Khrapunovs’ new Exhibit C, meanwhile, is
identical to the document already moved into evidence by the Kazakh Entities as Exhibit 15,
attached to the declaration of Sophie Roytblat [ECF No. 482-17]. The fact that the Khrapunovs
re-submitted the same document, apparently without any recognition that it was already in
evidence, just goes to show how disinterested they are in the record actually created at the
hearing.
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exactly that. The Kazakh Entities have been denied any opportunity to address, examine, or brief

the New Evidence,6 including the testimony of an entirely new expert witness who purports to –

but does not, even taken at face value – exonerate Ilyas Khrapunov of the leak. Given that the

Khrapunovs chose not to offer the New Evidence while the record was open, they have no right

to rely on the New Evidence submitted after the record was closed and after the Kazakh Entities

filed their post-hearing brief. Not only does this conduct fly in the face of the Court’s orders and

basic courtroom practice, it is itself sanctionable under the Federal Rules of Evidence.

      I.   The Khrapunovs Should Not be Permitted to Expand the Record

       There is no more fundamental rule of the courtroom than when a party rests its case, it

loses the ability to insert new evidence into the record as part of its case-in-chief. While courts

occasionally allow the record to be re-opened to correct technical errors (e.g., the failure to move

an exhibit into evidence that was the subject of testimony, or to correct the record when the

wrong version of a document was admitted into evidence), that is not what the Khrapunovs have

tried to do here. To the contrary, they waited until the evidentiary record was closed and the

Kazakh Entities had submitted their post-hearing brief, and then offered an array of previously

undisclosed evidence. Imagine a criminal defendant trying to call a new witness after the

prosecution’s closing argument; no court would tolerate that. But that is exactly what the

Khrapunovs have done here. Their tactics are not only antithetical to the adversary system, but

encourage exactly the kind of trial-by-surprise that the Federal Rules prohibit.




6
        The Court ordered post-hearing briefing from the parties, but explicitly ordered “no
replies.” 11/17/17 Hr’g Tr. at 77:17-18.
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           a. The Khrapunovs Cannot Expand the Record Now With Evidence They
              Could Easily Have Offered Earlier

       When a party seeks to expand or reopen the record to inject new evidence, “the movant

must establish that it ‘failed to adduce the evidence sought to be added notwithstanding its own

due diligence.’” Korea First Bank v. Lee, 14 F. Supp. 2d 530, 531 (S.D.N.Y. 1998) (quoting

Playboy Enterprises, Inc. v. Dumas, 960 F.Supp. 710, 723 (S.D.N.Y.1997); see also Ortho

Diagnostic Sys., Inc. v. Abbott Labs., Inc., 926 F. Supp. 371, 372 (S.D.N.Y. 1996) (“An

application to reopen the record ordinarily will be denied unless the party seeking to expand the

record failed to adduce the evidence sought to be added notwithstanding its own due diligence”);

Shred-It USA, Inc. v. Mobile Data Shred, Inc., 238 F. Supp. 2d 604, 607 (S.D.N.Y. 2002)

(precluding new testimony offered after “all sides rested at the conclusion of the evidentiary

phase of the proceeding” and “defendants had ample opportunity to seek leave to present a

rebuttal witness [but] chose not to, and now offer no compelling reason why the trial record

should be reopened”); John v. Sotheby’s, Inc., 858 F. Supp. 1283, 1288 (S.D.N.Y. 1994), aff'd,

52 F.3d 312 (2d Cir. 1995) (considering, in addition to the movant’s due diligence, “the extent to

which reopening the record might prejudice the non-movant” and “the interests of justice.”).

       While much of this case law deals with parties who have explicitly moved the court for

permission to expand the record – an issue on which the proponent of the evidence bears the

burden, see John, 858 F. Supp. at 1288 (“The movant has the burden of demonstrating that the

moving party’s failure to submit evidence was not the result of its own lack of diligence,

reopening the record would not unduly prejudice the nonmovant, and reopening the record would

further the interests of justice.”), the Khrapunovs’ conduct here is even more concerning, as they

simply make arguments based upon the New Evidence without even notifying the Court that it




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was never put in the record, despite the Court’s November 21 Order explicitly directing the

parties to do exactly that.

        Courts regularly strike untimely evidence in analogous circumstances, such as where it is

submitted when an opposing party has no opportunity to examine or respond to it; this is simply

an aspect of the Court’s inherent authority to police the courtroom. See, e.g., New World Sols.,

Inc. v. NameMedia Inc., 150 F. Supp. 3d 287, 308 (S.D.N.Y. 2015) (striking declaration attached

to summary judgment opposition where movant “had no opportunity prior to the Motions for

Summary Judgment to question [new witness] about his assertions of fact in his declaration.”);

Hous. Works, Inc. v. Turner, 362 F. Supp. 2d 434, 438, n. 4 (S.D.N.Y. 2005) (striking new

evidence attached to objection to magistrate judge’s ruling, and noting that “permitting such

piecemeal presentation of evidence is exceptionally wasteful . . . [and] parties would be

encouraged to withhold evidence” (quoting Morris v. Amalgamated Lithographers of Am., Local

One, 994 F. Supp 161, 163 (S.D. N.Y. 1998))).

            b. The Khrapunovs Have No Reasonable Excuse for Withholding the New
               Evidence Until After the Record Closed

        The Khrapunovs’ failure to introduce the New Evidence at the evidentiary hearing is not

simply a technical fault. This was evidence that was available to the Khrapunovs long before the

hearing, and which they chose to sit on or generate until they had seen all of the Kazakh Entities’

proof and all of the Kazakh Entities’ arguments. There is simply no reason to think that that they

could not have “adduce[d] the evidence sought to be added notwithstanding [their] own due

diligence.” Korea First Bank, 14 F. Supp. 2d at 531.

        As detailed above, the Court and the parties established a clear and discrete record at the

hearing. The parties moved documents into evidence, 11/17/17 Hr’g Tr. at 12: 13-17, subject to a

negotiated agreement for the limited admissibility of that evidence, id. at 33: 1-12, and the Court

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ordered this evidence to be filed and docketed, creating a discrete record for the briefing

schedule ordered by the Court. Id. at 34:8-12. When the record was set to close, the Court

explicitly confirmed with the Khrapunovs’ counsel that they had no further evidence to offer, to

which they responded “we have nothing more.” Id. at 74:7.

       Courts only permit a party to expand such a record when the evidence to be added could

not have been offered in a timely fashion through reasonable due diligence, but here, virtually all

of the New Evidence existed in its present form prior to the hearing. The Khrapunovs’ failure to

introduce it was either a lack of planning and due diligence, or a desire to gain a tactical

advantage by sandbagging (or both) – none of which justifies expanding the record now. See

Shred-It USA, 238 F. Supp. 2d at 607 (“To introduce the testimony and report of a supposed

expert witness at this point manifests an absence of due diligence. Acceptance of the evidence

would contravene the letter and spirit of Federal Rule of Civil Procedure 26 and unduly prejudice

Shred–It”).

       For example, the Khrapunovs plainly understood that they wanted to introduce evidence

to try to attack the credibility of Nicholas Bourg – the eyewitness to Ilyas Khrapunov’s

participation in acts of computer hacking, whom Judge Nathan has previously found to be

credible. [ECF Nos. 482-91; 175 at 5 n.4]. To that end, they introduced their Exhibits B and C at

the evidentiary hearing, which are certain release agreements between Bourg and the Kazakh

Entities that the Khrapunovs contend are relevant to the witness’s bias. [ECF Nos. 487-02,-03].

In the New Evidence, however, the Khrapunovs also include excerpts of Bourg’s deposition.

[ECF No. 502-05]. This evidence was plainly available at the time of the hearing, and indeed the

Kazakh Entities themselves included portions of Bourg’s deposition on their exhibit list

disclosed to the Khrapunovs prior to the hearing, see Ex. B, at 3, giving the Khrapunovs ample



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opportunity to cross-designate additional passages. They chose not to do so, instead waiting until

the record was closed to cherry-pick a single quotation to try to create the false impression that

the witness has a financial interest in the outcome of this case. Had the Kazakh Entities been

given notice, they could have (and would have) cross-designated additional portions of Bourg’s

testimony that explained the context of this New Evidence.

       But the most insidious use of the New Evidence is the Khrapunovs’ attempt to

manufacture some alternative explanation for what brought about the underlying motion for

sanctions, which is Ilyas Khrapunov’s leaking of the Transcript in plain violation of the

protective order. In an attempt to come up with some other narrative, the Khrapunovs

hypothesize that “the Transcript was obtained by hacking.” Opp. at 3. Although the Khrapunovs

do not spell out their accusation explicitly – because doing so would illustrates just how

laughable it is – what they are claiming is that BTA (or perhaps Almaty, or maybe the Republic

of Kazakhstan) commissioned hackers who, as part of a “Black PR” scheme, hacked into Ilyas’

e-mail account, leaked the Transcript, and then framed him for the leak – yet publicly attributed

the leak to a rogue BTA Bank employee. Setting aside the very many things wrong with this

theory, there is no question that the Khrapunovs could easily have come up with this theory and

‘supporting’ evidence prior to the hearing. Indeed, all of the news articles they rely upon

predated the hearing, as did the deposition testimony they attempt to inject after the fact. See

Opp. at 3, n.2 (Reuters article dated August 2, 2017); at 4, n. 6 (Electronic Frontier Foundation

report dated August 2016); Opp. Ex. B (excerpt of May 3, 2017 deposition of BTA Bank); Opp.

Ex. D (excerpt of October 11, 2017 deposition of K. Rakishev); Opp. Ex. E (excerpt of

September 11-12, 2017 deposition of N. Bourg).




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       The sole piece of New Evidence that does not predate the Evidentiary Hearing is the

testimony of an expert witness who offers his “professional opinion” in an attempt to exonerate

Ilyas. [ECF No. 502-01]. This testimony certainly could have been obtained prior to the hearing,

but wasn’t, and there is simply no plausible excuse for the Khrapunovs’ failure to offer this

witness during the hearing. Instead, they listened to the evidence submitted by the Kazakh

Entities – including their own lawyers’ damaging admission that they had never collected any

documents from Ilyas’ e-mail accounts, or conducted any sort of investigation into the source of

the leak – and only then sought out a purported expert in an attempt to generate an opinion that

might create some doubt about who leaked the Transcript (it doesn’t, as explained below).

Counsel acknowledged that they had been aware of Ilyas’s “yodamaster@crypotheaven.com”

account for over a year, so such a review could (and certainly should) have been conducted long

ago. There is no conceivable excuse – and none has been offered – for their waiting until after

the evidentiary hearing and after the Kazakh Entities submitted their post-hearing brief to do so.

           c. Although the New Evidence Is Not Persuasive, the Kazakh Entities Would be
              Deeply Prejudiced by Its Unchallenged Admission after the Record Closed

       While the Khrapunovs’ failure to offer the New Evidence while the record was open is

certainly grounds enough to strike the Opposition, the Court is also entitled to consider the

serious prejudice the late disclosure of the New Evidence will have on the Kazakh Entities. See

John v. Sotheby's, Inc., 858 F. Supp. at 1288. While the New Evidence is largely inadmissible or

easily-discredited, it has been offered after the record closed, denying the Kazakh Entities the

opportunity to challenge this evidence on evidentiary and substantive grounds or offer their own

evidence in response.

       The Khrapunovs’ counsel was forced to admit on the stand that they had done no

investigation into the leaking of the Transcript other than passing along blanket denials from

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their clients, both of whom reneged on their offers to be cross-examined. Faced with this

admission, the Khrapunovs have now interjected the New Evidence to try and muddy the waters

enough to escape sanctions. Admitting the New Evidence now would allow the Khrapunovs to

put up the façade of a case without allowing the Kazakh Entities to properly test it.

              i. Admitting the Expert’s Testimony Would Prejudice the Kazakh Entities

       As noted above, the Khrapunovs have not offered any reason why their surprise expert

witness, Mattias Aggeler, did not appear to be examined at the Evidentiary Hearing. His out-of-

court, un-confronted statements are inadmissible hearsay, and no plausible exception applies

here. See Fed. R. Evid. 801, 802.7 Every witness except the Khrapunovs themselves, and now

Aggeler, volunteered and was available to be cross-examined on their testimony. In contrast,

every single witness the Khrapunovs have offered found a way to avoid being examined on their

testimony. The Kazakh Entities are obviously prejudiced when they are denied the chance to

cross examine a supposedly independent expert witness who claims to exonerate Ilyas

Khrapunov. Even if the Court is entitled to consider inadmissible hearsay at this pretrial stage,

any value Aggeler’s testimony might have is dramatically outweighed by the prejudice to the

Kazakh Entities.

       In addition to being inadmissible hearsay, Aggeler also purports to offer expert testimony

despite completely failing to qualify as an expert or make the other disclosures required of

experts. He concludes his affidavit by explicitly offering his “professional opinion,” but the

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        At the hearing, both parties offered certain documents that were arguably hearsay, but
which were admitted by agreement for the purposes of the sanctions motion. Obviously, the
Kazakh Entities object to the New Evidence, which does not fall within the parties’ prior
agreement on limited admissibility. Moreover, with respect to every witness whose testimony
was admitted, the parties were given the opportunity to cross-examine and either took advantage
of that opportunity or knowingly waived it. Here, the Kazakh Entities have had no opportunity to
cross-examine Aggeler, nor was he identified as a potential witness that might have been
deposed.
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Khrapunovs have not made any of the necessary expert disclosures, nor does Aggeler’s

testimony on its face disclose his qualifications, his experience as an expert, his fees, his

methodology, or the bases for his opinions. See generally Fed. R. Civ. P. 26(a)(2)(B) (requiring

paid experts to produce a signed, written report containing certain required disclosures, including

about their qualifications, experience, compensation, methodology, and opinions); see also Fed.

R. Evid. 702; Amorgianos v. Nat'l R.R. Passenger Corp., 303 F.3d 256, 265 (2d Cir. 2002)

(“[T]he district court has a ‘gatekeeping’ function under Rule 702—it is charged with the task of

ensuring that an expert’s testimony both rests on a reliable foundation and is relevant to the task

at hand.”). Beyond its general failure to qualify Aggeler as an expert, his declaration does not

indicate that he has any expertise or even familiarity with Cryptoheaven’s particular capabilities,

and his affidavit entirely fails to address Cryptoheaven’s file-sharing capabilities, as discussed

below. By offering Aggeler’s testimony after the evidentiary hearing and thus denying the

Kazakh Entities the chance to examine him and test his qualifications, the Khrapunovs are trying

to sidestep rules for expert testimony – which certainly prejudices the Kazakh Entities.8

       Separate from his qualifications, Aggeler describes his review as “forensic” and offers his

“professional opinion,” Aggeler Decl., ¶ 9, but his declaration simply says that he ran searches

through the “Yodamaster” account. As explained above, Aggeler does not offer any professional

credentials, does not suggest any expertise in the Cryptoheaven platform, and does not explain

what he did to copy or preserve these accounts. This is significant, as the Khrapunovs have

previously claimed an inability to obtain documents from Cryptoheaven in responses to motions

8
        The Khrapunovs’ failure to make the other disclosures required by Rule 26 is no less
prejudicial. For example, the Kazakh Entities have no idea what Aggeler was paid for his
opinion, whether he has testified before, or whether courts have previously rejected him as an
expert. (A Westlaw search for “Mattias Aggeler” returns no results in any reported state or
federal judicial decision).


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to compel. See ECF No. 422, at 1-2. From his declaration, Aggeler appear to have done nothing

more than looked in Ilyas’s mailbox to see what is in there now – hardly the kind of “forensic”

review that the Court can put faith in. Aggeler admittedly conducted his review of Ilyas

Khrapunovs’ accounts after the hearing, as his declaration is dated December 15, 2017, and thus

long after Ilyas Khrapunov was on notice that the “Yodamaster” account was at the center of this

sanctions motion. Khrapunov had ample time to delete any incriminating traces in his “outbox or

sent items.” Aggeler Decl. ¶ 9. This means that Aggeler’s analysis is only as trustworthy as Ilyas

Khrapunov himself – which is to say, not at all. See ECF No. 490, at 13-16.9 Both Ilyas

Khrapunov and Aggeler have avoided cross-examination on these questions, however,

compounding the prejudice on the Kazakh Entities.

       Finally, Aggeler’s testimony was prepared well after the Khrapunovs had received and

reviewed the Kazakh Entities’ post-hearing sanctions brief, but still fails to address key points.

Compare ECF No. 490 (Kazakh Entities’ post-hearing brief, dated December 4, 2017) with

Aggeler Decl. (dated December 15, 2017). Aggeler says nothing about the file-sharing

capabilities of Cryptoheaven accounts, which allow Cryptoheaven users to share files

anonymously with “trusted associates.” [ECF No. 482-14, 482-15]. As the Khrapunovs

themselves argued in earlier correspondence, Cryptoheaven “provides services for the secure

exchange of computer files, end-to-end encrypted email and secure file sharing.” [ECF No. 422,

at 2]. Aggeler only states that he reviewed the “outbox or sent items folder” of the “Yodamaster”

account (Aggeler Decl. ¶¶ 6, 8), failing to address the single most obvious method for Ilyas



9
        Ilyas Khrapunov’s willingness to conveniently “lose” evidence can barely be debated at
this point. The Kazakh Entities have identified at least four relevant e-mail accounts belonging to
Ilyas Khrapunov, all of which were used to discuss or direct events central to this lawsuit, and all
of which have been deleted or rendered inaccessible. See ECF Nos. 308, 422.


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Khrapunov or his agents to share the Transcript without leaving a trace – a method which actual

evidence before the Court demonstrates Ilyas has historically used to transfer files with his co-

conspirators. [ECF Nos. 482-21, -27]. The New Evidence is not intended to actually rebut the

Kazakh Entities’ submission – it is intended to create confusion and the appearance of

compliance with the Khrapunovs’ discovery obligations.10

       Each of these points, and many others, would certainly have been raised had Aggeler

been properly disclosed and present for cross-examination.11 Of course, he was not, and the

Khrapunovs are now trying to use his plainly-inadmissible declaration to create enough of a

specter of doubt to avoid sanctions. Admitting this testimony would not only prejudice the

Kazakh Entities, it would mock the adversary system.

             ii. Admitting the Remaining New Evidence Would Prejudice the Kazakh Entities

       While the remainder of the New Evidence is similarly unpersuasive, admitting it now,

when the Kazakh Entities have no opportunity to rebut it or offer evidence in response, would be
10
         Aggeler also states that he was retained to “cull, collect, ingest and analyze electronically
stored information from multiple email accounts and electronic devices belonging to Ilyas
Khrapunov.” Aggeler Decl. ¶ 2. It can’t be overstated that the Kazakh Entities quite literally had
to put the Khrapunovs’ counsel on the stand and place them under oath before they admitted that
the Khrapunovs had not even taken such basic steps to fulfill their discovery obligations as
collecting documents. See 11/17/17 Hr’g Tr. at 66:10-13. And even now, the Kazakh Entities
have yet to receive any documents that may have been collected by Aggeler. This is exactly why
the Court should appoint a special master to oversee the Khrapunovs’ discovery conduct in this
litigation. [ECF No. 490, at 21].
11
        The Khrapunovs may well offer to permit Aggeler’s cross-examination in response to this
motion. That is not enough. The possibility of a re-opened evidentiary hearing or further briefing
on the underlying motion is inadequate, inefficient, and unfair. It has been nearly two months
since the Transcript was leaked and resources began to pour into the underlying motion, which
concerns a willful violation of the Court’s orders. And yet only at (after, really) the last possible
moment has counsel for the Khrapunovs chosen to put on a case. Conducting an entirely new
hearing, at which Aggeler could be examined and further evidence could be offered in response
to the New Evidence, would consume an enormous amount of the parties’ and the Court’s time
and resources. Even then, there is no guarantee that the record would actually close – by
rewarding the Khrapunovs for this ambush, the Court would simply be incentivizing them to
continue this conduct in the future.
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deeply prejudicial. The Khrapunovs offer news articles – which predate the hearing and certainly

could have been moved into evidence at that time – to support a farcical new “hacking” theory

they apparently had too much shame to raise in open court.

       It is not hard to imagine why the Khrapunovs failed to offer this “hacking” evidence or

any supporting witnesses at the evidentiary hearing: the theory falls apart under the slightest

scrutiny. There is non-hearsay evidence of only one party engaging in unlawful computer

hacking, and that evidence describes how Ilyas Khrapunov retained hackers to breach various

government communications. See ECF No. 482-19. While the Khrapunovs have time and again

accused the Kazakh Entities of counter-hacking, this is another transparent attempt to muddy the

waters and distract from the fact the evidence of hacking only points one way: toward Ilyas

Khrapunov.

       The Khrapunovs admit that that they have no proof of hacking, Opp. at 4, but nonetheless

imply that BTA sought to “frame” Ilyas Khrapunov by hacking his e-mail and leaking the

Transcript. Id. at 5. This theory makes no sense at all. If BTA was trying to “frame” Ilyas

Khrapunov, then why would the article disclosing the leak attribute the leak to one of BTA’s

own employees – a point the Khrapunovs cite in their defense? More importantly, how could

these unnamed hackers have known that counsel for the Kazakh Entities would not forward the

transcript to BTA before the leak was disclosed? How could they have known Ilyas Khrapunov

would receive the Transcript at all? If these unnamed hackers had access to Ilyas Khrapunov’s e-

mail accounts, why didn’t they leave evidence there to “frame” him?

       These are exactly the kind of questions that would have been addressed if the

Khrapunovs had disclosed the New Evidence and submitted themselves for examination as they

were obligated to. Permitting the Khrapunovs to offer the New Evidence to support this



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nonsensical conspiracy theory would be enormously prejudicial: without the New Evidence, this

theory has virtually no evidentiary support at all, but this so-called support was disclosed at a

point when the Kazakh Entities cannot rebut it. By injecting this evidence after the record was

closed and the Kazakh Entities’ post-hearing brief was filed, the Khrapunovs could just as well

have offered evidence claiming that the moon landing was faked, and with no further opportunity

to respond, this ‘evidence’ would stand uncontroverted. This is not how the adversary system

works.12

       The prejudice to the Kazakh Entities of the New Evidence is overwhelming,

notwithstanding the underwhelming nature of the New Evidence itself. Significant resources

were put into the underlying motion, the Evidentiary Hearing, and the subsequent briefing. And

at the eleventh hour – actually more like the thirteenth hour – the Khrapunovs have attempted to

insert the New Evidence into the record without giving the Kazakh Entities any opportunity to

respond. This was a clear violation of the basic rules of the courtroom, and one that (if permitted)

will prejudice the Kazakh Entities tremendously and encourage more sharp practice from the

Khrapunovs in the future. The Court should not permit it.

     II.   The New Evidence Should Also Be Excluded Because It Violates the Court’s
           November 21 Order

       By itself, the Khrapunovs’ failure to file the New Evidence in accordance with the

Court’s November 21 Order justifies striking it. The Court ordered the parties to file all



12
        The Khrapunovs also offer a snippet of testimony from BTA Bank’s Rule 30(b)(6)
witness in an attempt to justify their notice of Mr. Rakishev’s deposition, but the Kazakh Entities
have never disputed that the Khrapunovs had a plausible pretext for seeking to depose Mr.
Rakishev – that is why they allowed it to proceed without moving to quash. The Khrapunovs’
conduct, however, demonstrates that it was only a pretext; as they subsequently announced their
intention on Facebook to use the deposition to attack and smear Mr. Rakishev, and then spent
virtually the entire deposition delving into matters not relevant in this case – which they now
seek the Court’s permission to use in foreign litigation.
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affidavits, stipulations, and exhibits on the public docket and the e-mail unredacted copies to

chambers – precisely so the record on the Kazakh Entities’ sanctions motion would be clear and

unambiguous. The Khrapunovs’ failure to obey that order provides an independent reason to

exclude the New Evidence.

       Federal Rule of Civil Procedure 37(c)(1) states that “[i]f a party fails to provide

information or identify a witness as required by Rule 26(a) or (e), the party is not allowed to use

that information or witness to supply evidence on a motion, at a hearing, or at a trial, unless the

failure was substantially justified or is harmless.” (Rule 26(e), in turn, requires a party to make

any evidentiary disclosures “ordered by the Court.”) “The purpose of the rule is to prevent the

practice of ‘sandbagging’ an adversary with new evidence.” Ventra v. United States, 121 F.

Supp. 2d 326, 332 (S.D.N.Y. 2000).

       Here, the Court’s November 21 Order explicitly directed the parties to disclose and

submit all evidence they offered regarding the sanctions motion. As explained above, the

Khrapunovs’ failure to obey this simple order was neither substantially justified – they could

easily have offered the New Evidence at the time of the hearing – nor harmless. As a result, they

are “not allowed to use that information or witness to supply evidence on a motion [or] at a

hearing.” Fed. R. Civ. P. 37(c)(1).

    III.   The Kazakh Entities Are Entitled to Fees

       Finally, the Kazakh Entities are entitled to reasonable attorneys’ fees and costs in

connection with this motion to strike. Fees are justified by the Khrapunovs’ failure to disclose

the New Evidence as directed in the Court’s November 21 Order, pursuant to Federal Rule of

Civil Procedure 37. Catskill Assocs., L.L.C. v. Benza, No. 1:08 Civ. 598 (LEK), 2009 WL

3756593, at *3 (N.D.N.Y. Nov. 6, 2009); Moreno v. Empire City Subway Co., No. 05 CIV. 7768



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LMM HBP, 2008 WL 793605, at *2 (S.D.N.Y. Mar. 26, 2008). And the court has the power to

assess attorneys’ fees for “willful disobedience of a court order.” Advanced Analytics, Inc. v.

Citigroup Glob. Markets, Inc., 301 F.R.D. 31, 37 (S.D.N.Y.), objections overruled, 301 F.R.D.

47 (S.D.N.Y. 2014).

       For the past two years, the Kazakh Entities have participated in discovery in good faith,

and have not sought fees when they had to move to compel to get the most basic discovery or for

protective orders in light of the defendants’ outrageous conduct – even though an award of fees

is mandatory in those situations. See Fed. R. Civ. P. 37(a)(5)(A). But the Khrapunovs’ tactics

here have escalated their obstructive behavior to new levels, and the fact that the Kazakh Entities

have to make this motion at all is preposterous. The Court should award the Kazakh Entities its

reasonable fees and costs. The Kazakh Entities will be prepared to submit appropriate

documentation of those fees and costs once the briefing for this motion, including any reply, is

complete.




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                                        CONCLUSION

         For the above reasons, the New Evidence should be precluded and the Khrapunovs’

Opposition to the Kazakh Entities’ motion for sanctions, [ECF No. 502], should be stricken in its

entirety.



Dated:      January 2, 2018
            New York, New York                      Respectfully submitted,

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